    Case: 1:22-cv-02139-PAB Doc #: 130 Filed: 09/17/24 1 of 3. PageID #: 1799




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                           EASTERN DIVISION AT CLEVELAND

 John Doe 1,                                   )
                                               )
                Plaintiff,                     )
                                               )
 v.                                            )            Civil Action No. 1:22-cv-02139-PAB
                                               )
 Varsity Brands, LLC; Varsity Spirit, LLC;     )            JUDGE PAMELA A. BARKER
 Varsity Brands Holding Company, Inc.; U.S. )
 All Star Federation, Inc. d/b/a U.S. All Star )
 Federation; USA Federation of Sport Cheering )
 d/b/a USA Cheer; Charlesbank Capital          )
 Partners, LP; Bain Capital, LP; Jeff Webb,    )
 individually; Taji Davis; Brandon Hale; and   )
 ShowPro Choreography,                         )
                                               )
                Defendants.                    )


                                   JOINT STATUS REPORT

       Pursuant to the Court’s June 26, 2024 order, the remaining parties, except for defaulting

Defendant Hale, submit the following joint status report.

       The parties are close to finalizing settlement. Specifically, Plaintiff’s case is one of many

similar cases, many of which required court approval since the settlements involve minors. Since

the last status report, nearly all of those minor settlements have been resolved. The parties are

diligently waiting for a final hearing date and approval of one more minor settlement. Accordingly,

the parties respectfully request that this Court continue to stay all proceedings in this matter.

       A copy of this Joint Status Report will be sent to Defendant Hale at the address on file.
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Respectfully submitted,

/s/ Abigail F. Chin                              /s/ Michael T. Conway (per telephone
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Rex H. Elliott             (0054054)             Michael T. Conway         (0058413)
Abigail F. Chin            (0097928)             Michael T. Conway and Company
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Counsel for Plaintiff




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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing Joint Status Report was served on the

following party of record, by ordinary U.S. mail, postage prepaid, this 17th day of September,

2024:

                                   Brandon Hale
                                   3607 McCuiston Road
                                   Apartment 34
                                   Greensboro, North Carolina 27407


                                             /s/ Abigail F. Chin




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